UNITED STATES DISTRICT COURT
FOR THE
DISTRICT OF NEW HAMPSHIRE

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United States of America
No. 1:21-cr-00041-JL

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* v.
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* Jan Freeman
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APPENDIX A
Second Addendum

(additional attachments)

TO

DEFENDANT’S MEMO IN SUPPORT OF A BOOKER
VARIANCE

Brian Bugenhagen
5 Killeen St
Walpole, NH 03609

Dear Judge LaPlante,

My name is Brian Bugenhagen and I'm writing to you directly to give a character reference. My goal is to
give you a better picture of who lan Freeman is and why he deserves leniency in sentencing.

I've been an ordained minister of the Church of Spiritual Humanism since 2009. I've worked for internet
service providers, major telephone companies and even worked at Microsoft's main campus in the
Seattle area. | am one of four first chair hosts on the nationally syndicated radio talk program Free Talk
Live, which lan founded more than two decades ago. | know lan Freeman personally and have worked
with him since 2019.

Let me tell you the kind of teammate lan Freeman is. If you're looking to construct the winning team of
liberty, lan Freeman best be your first-round draft pick. He's consistent, talented and a top performer in
many categories. He's incredibly selfless, charitable and a real superstar any coach can build a team
around,

Making great plays is about first avoiding the bad play. | don't know of anyone who can rightfully claim
lan harmed them in any way. He has always personified top notch professionalism and kindness in his
interactions with others. He has forgiven people whom | could not.

Other teams notice your absence on the field, I've witnessed an absolute outpouring of concern and
disbelief amongst the nation's top radio broadcast professionals on June 10th, 2022, while attending the
annual Talker's Magazine radio convention. That's the day many of them first got to ask questions about
the raid on the studio. It was also this event that lan Freeman won the radio industry's biggest award:
The very prestigious "Gene Burns Memorial Award for Freedom of Speech". Past recipients include Rush
Limbaugh, Howard Stern, Sean Hannity, Thom Hartmann, G. Gordon Liddy, Al Franken, Glenn Beck, Matt
Drudge, and many more. These are all accomplished men, each respected in their field. ian Freeman is
now one of them.

Great players make others around them better. lan's Shire Free Church has an interfaith model. This
particular modei taught me that it's possible for multiple religions to voluntarily coexist and
cooperatively work together on missions that are congruent. Oh, and it built an orphanage.

High motor players have drive. I've witnessed lan providing technical support for no charge to first time
app users, helping folks solve issues with their tablets, troubleshooting networking problems and even
installing operating systems. When inquiring about why he wouldn't charge for these valuable services,
his reply was simple: "It's my mission".
Legendary players leave a legacy. Liberty is inherently important to every New Hampshire resident who
has said "Live Free or Die". Depending on how you measure it, lan Freeman is certainly one of the top
modern political activists in all of New Hampshire - and he just may be the most prolific. He stands up
for himself and he stands up for others. You've seen the local and national news crews, several
documentary filmmakers, numerous bloggers and podcasters all attending these hearings. You don't get
that kind of treatment unless you're akin to a star quarterback. lan Freeman is quite simply the MVP of
political activism.

Judge Laplante, you have the ability to act with compassion as the sole human being deciding
sentencing. Based on his accomplishments, his community impact, his charity and his historic New
Hampshire activism - society would be much worse off if you removed him from it. If anyone has ever
earned leniency in sentencing, it's lan Freeman.

Thank you.

Kindly, Bo Oo ————

Brian Bugenhagen
5 Killeen St
Walpole, NH 03609
Tina Spies
P. O. Box 104
Hubbard, OH 44425

To the Honorable Judge Laplante:
My name is Tina Spies. (My unusual surname is German for “spear” and rhymes with "peace”.)

I don't know if anything about me will impress you at all, but, I'm a free/libre/open source computer
programmer who usually goes by the name Apollia on the internet.

I'm an associate member of the Free Software Association (FSF), which I first joined in 2014.
https:/ /fsf.org /

Perhaps the most useful software I worked on so far is a fork of the concept mapping software
VUE: Visual Understanding Environment.

Some of my improvements to VUE are listed on this page: https:/ /github.com/VUE/VUE/pull/44

I've been a fan of Jan Freeman's radio show, Free Talk Live, since 2022.
https://freetalklive.com/

I don't know every detail about the entire Crypto 6 case, but Episode 10 of the excellent NBC Boston
docu-series at https://nbcboston.com/freestate seems to be a great intro:

https: //www.nbcboston.com/multimedia/episode-1o-the-crypto-six/2994278

From what I understand, Ian and his friends tried very hard to follow the laws and consulted a lawyer
even before going into business. And to the best of everyone's knowledge (including Ian's lawyer at
the time), nothing they were planning to do was against the law.

I'm sure they would have applied for a license to sell cryptocurrency had such a license been available
and required - but Ian's lawyer at the time found nothing like that was available or required.

I believe Ian and his friends started and ran their business with the very best of intentions. I don't
believe any of them did anything wrong, or if they did, it wasn't intentional.

Ian and his friends did provide a service which, despite their best efforts to stop scammers,
accidentally and probably unavoidably happened to help some scammers.

But so did the banks, and so did the providers of other products and services which unintentionally
happened to help the real scammers to perpetrate their scams, such as whichever companies provided
internet or phone services to the real scammers.

I believe Ian and his friends are just as innocent as all the others who unintentionally helped the real
scammers.
I don't know if there's anything you can do now to reduce Aria's sentence, but, thank you so much
for at least having given Aria a sentence so much less than the maximum.

Despite Aria misleadingly making herself look bad by sometimes talking/acting /dressing like a
rebellious teenager and calling herself a "Satanist", when in fact she's an atheist (not a believer in

Satan) - she's actually one of the sweetest, most caring, principled, well-intentioned, and overall
wonderful people I've ever had the honor of knowing.

Even in prison, she's still always trying her best to make the world a better place.

Here's a wonderful interview of Aria by NBC Boston:
https://www.nbcboston.com/multimedia/free-state-watch-party-aria-dimezzo-on-ep-10/2999886
I've interacted much more with Aria than with Ian or anyone else from Free Talk Live, but I think
just as highly of Ian and the other hosts of Free Talk Live, including Ian's wife Bonnie.

It's obvious that Ian and Bonnie are deeply in love, and J think it would be absolutely tragic for this
innocent young woman to be deprived of her just as innocent husband for any length of time.

Free Talk Live does so much to raise awareness of the importance of quintessentially American values
such as liberty, justice, freedom of speech, compassion, and peace.

Free Talk Live has given me much more hope for the future of the USA. The long-term popularity
of the show (which has been on the air since 2002) convinces me that there are still enough
idealistic, good-hearted, well-intentioned people in the USA that there's still a chance that the USA

will be able to correct its (in many ways) wayward course and start doing a much better, more
consistent job of living up to its noblest values.

I believe it's probable you truly do care about such American values, and are honestly doing your best
to be fair and just.

So, I'm optimistic that writing you this letter might actually do some good.

Even though I'm agnostic, God bless you for being so much kinder and fairer to Aria and the others
than I feared you would be, and for reading this, and for considering giving Ian as fair and lenient a

sentence as possible.

Thank you so much, and all the best to you!
Sincerely,

Tina Spies
Case 1:21-cr-00041-JL

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